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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

J. K.
                                                  Plaintiff,
v.                                                             Case No.: 1:24−cv−07644
                                                               Honorable Franklin U.
                                                               Valderrama
Advanced Reproductive Health Center, Ltd.
D/B/A Chicago IVF
                                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 25, 2024:


       MINUTE entry before the Honorable Franklin U. Valderrama: The Court grants
attorney Tyler Somes's motion to appear pro hac vice [9]. Mailed notice(mjc, )




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